                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

DONALD AGEE, JR., an individual, et
al.,
                                            Case No. 1:22-cv-00272
               Plaintiffs,
                                            Three-Judge     Panel     Appointed
v.                                          Pursuant to 28 U.S.C. § 2284(a)

JOCELYN BENSON, in her official
capacity as the Secretary of State of
Michigan, et al.;

               Defendants.



                    ORDER APPOINTING SPECIAL MASTER

         The Court, pursuant to Fed. R. Civ. P. 53, hereby appoints [insert name] as

special master (hereinafter, the “Special Master”) for the purpose of developing,

evaluating, and recommending remedial redistricting plans in this matter as set forth

below:

         1)    The Special Master shall be empowered and charged with the duty to

prepare, in a collaborative fashion and with input from the Commission and

Plaintiffs, a remedial map for the 13 districts invalidated by the Court; however, if

necessary to comply with the other provisions of this order or the Opinion and Order

dated December 21, 2023 (ECF No. 131) (hereinafter, the “Opinion”), the Special

Master is bestowed with veto power over the Commission if necessary to fulfill his/her

duties as outlined herein;

         2)    All remedial maps proposed by the Special Master must remedy the
Equal Protection violations identified by the Court and the Court shall retain

jurisdiction to ensure this is achieved;

      3)     Districts   immediately       adjacent   to   the   13   districts   deemed

unconstitutional may be subject to changes in the remedial maps, and the Special

Master is authorized to make changes to those districts as reasonably necessary to

accomplish the objective criteria set forth in the Michigan Constitution and to comply

with the Opinion;

      4)     The Special Master shall comply with all constitutionally mandated

transparency requirements pursuant to Michigan law with the exception of the

requirement of holding statewide public hearings for input on proposed maps;

      5)     Plaintiffs may, but are not required to, submit proposed maps to the

Special Master for consideration, and the Special Master must consider any

proposals, plans, and comments provided by Plaintiffs. If the Special Master rejects

Plaintiffs’ proposals, maps, or comments, the Special Master must specify in a written

report to the Court the reasons for doing so;

      6)     The Special Master’s recommended remedial maps must be submitted

to the Court with a written report in accordance with Fed. R. Civ. P. 53(e) within ten

days of entry of this Order and once submitted to the Court, Plaintiffs will have a 7-

day objection period;

      7)     If the Special Master and Plaintiffs cannot resolve the objections, the

Court will hold a hearing to resolve those objections;

      8)     Plaintiffs and/or their representatives (including attorneys or experts)



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may attend any Commission meetings to monitor status;

      9)     The Special Master shall document any communications made with the

parties outside of any publicly held meeting and shall limit those ex parte

communications; however, in his/her capacity as liaison to this Court, the Special

Master(s) may engage in ex parte communications with the Court to the extent

necessary to fulfill the duties and obligations set forth in the Court’s order;

      10)    All of the Special Master’s fees and costs, subject to approval by this

Court, shall be borne by Defendants;

      11)    Defendants are directed to share any and all census data, demographic

data, or other electronic information and shapefiles—including but not limited to

(a) 2020 total population (as used by the commission), (b) 2020 voting age population

(as used by the Commission), (c) 2020 Black voting age population (as used by the

Commission), and 2012-2020 political information—with the Special Master within

three business days after entry of this order, and the Secretary of State and

Commission shall promptly provide any additional data requested by the Special

Master necessary to fulfill his/her duties;

      12)    The Special Master must not have a relationship to the parties

(including any individual current or former Commissioner), attorneys (including

current or former attorneys, such as Bruce Adelson or Julianne Pastula) or to any

retained expert (including Dr. Lisa Handley), action, or court that would require

disqualification of a judge under 28 U.S.C. § 455, unless the parties, with the Court’s

approval, consent to the appointment after the Special Master discloses any potential



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grounds for disqualification, in compliance with compliance with Fed. R. Civ. P. 53(2),

and if any potential conflict of interest exists, the Special Master shall disclose the

relationship in writing.

      IT IS SO ORDERED.

      Dated: ____________                            /s/
                                                     Hon. Paul L. Maloney
                                                     United States District Judge
                                                     On behalf of the Three-Judge
                                                     Panel




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